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 5                       UNITED STATES DISTRICT COURT
 6                            DISTRICT OF NEVADA
 7                                    -oOo-
     UNITED STATES OF AMERICA,                     )
 8                                                 )      2:03-cr-00441-RLH-LRL
                            Plaintiff,             )              ORDER
 9                                                 )      GOVERNMENT’S MOTION
                    v.                             )      TO UNSEAL JUDGMENT
10                                                 )
     DIANNA BRIGGS,                                )
11                                                 )
                              Defendant.           )
12

13          COMES NOW the United States of America, by and through Daniel G. Bogden, United

14   States Attorney, and Russell E. Marsh, Assistant United States Attorney, and hereby respectfully

15   requests this Court to unseal the Judgment in the above-captioned matter, because there is no longer

16   a need for the Judgment to be sealed.

17          DATED this 22nd day of July, 2010.

18                                                 DANIEL G. BOGDEN
                                                   United States Attorney
19

20                                                 /s/ Russell E. Marsh
                                                   RUSSELL E. MARSH
21                                                 Assistant United States Attorney

22
     IT IS SO ORDERED.
23

24

25   UNITED  STATES
     CHIEF UNITED    DISTRICT
                  STATES       JUDGE
                         DISTRICT JUDGE

26   DATED:      July 24, 2010
